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8
                                UNITED STATES DISTRICT COURT
9
                               CENTRAL DISTRICT OF CALIFORNIA
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11
       ARCONIC INC.et al.,                    )   Case No. 2:14-cv-06456-GW-E
12                                            )
                       Plaintiffs,            )   PMC SPECIALTIES GROUP, INC.
13                                            )   AND FERRO CORPORATION’S
                 vs.                          )   SUPPLEMENTAL BRIEFING IN
14                                            )   SUPPORT OF ITS MOTION FOR
       APC INVESTMENT CO., et al.,            )   SUMMARY JUDGMENT
15                                            )
                       Defendants.            )
16                                            )   Date:    May 26, 2022
                                              )   Time:    8:30 a.m.
17                                            )   Dept.:   9D
                                              )
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1      I.        SUMMARY OF ARGUMENTS
2                Plaintiffs admit the PMC Site is not within, and does not overlie the OU-2
3      Plume, unlike all other sites at issue in this case.1 Declaration of Daniel
4      Trowbridge in Support of PMC’s Supplemental Briefing (“Supp. Trowbridge
5      Decl.”), Ex. A, Transcript, March 14, 2022 Hearing, p. 26:6-13.
6                Despite decades of investigation by the United States Environmental
7      Protection Agency (“EPA”) the EPA has never sent PMC a general or special
8      notice letter and has never identified PMC as a potentially responsible party
9      (“PRP”) for the OU-2 Plume contamination. Dckt 1019, Plaintiffs’ Supplemental
10     Brief on Common Issues in Support of MSJ, p. 2:10-20. After millions of dollars
11     and years spent investigating, monitoring and analyzing potential source areas,
12     EPA has not identified PMC as a Potentially Responsible Party (“PRP”) and the
13     PMC Site was not identified as a source of OU-2 Plume contamination.
14               Data collected and analyzed after the summary judgement briefing
15     concluded in April 2021 reconfirmed that there is no plausible pathway for
16     contaminants from the PMC Site to have migrated to and comingled with
17     contaminants within the OU-2 Plume. The PMC Site was decommissioned in
18     1993, and the new test data reconfirmed contaminants have not migrated more than
19     700 feet from the PMC Site, attenuating to non-detect far short of the OU-2 Plume.
20               Plaintiffs must produce evidence that a plausible migration pathway through
21     which hazardous substances from the PMC Site are transported to OU-2 exists.
22     Castaic Lake Water Agency v. Whittaker, 272 F.Supp.2d 1053, 1066 (2003). It is
23     not enough for Plaintiffs simply to argue that groundwater from the area in the
24
25     1
         It is undisputed that there is geographic separation between the PMC Site and the OU-2 Plume.
       As set forth in detail in PMC’s initial moving papers (Dckt. 902, pp. 42:2-44:8), Plaintiffs’
26     depiction overstates the “process areas” at the PMC Site, and draws an exaggerated boundary of
27     the OU-2. Further, Plaintiffs’ admit that groundwater does not flow from the northwest corner of
       the PMC site to the northwest (towards the OU-2) plume, but travels from the process areas of
28     the PMC Site in a southerly direction. Based on Plaintiffs’ Experts own diagrams, groundwater
       from the PMC Site would have to travel 2,000 to 9,000 feet to intersect the OU-2 Plume.
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1      vicinity of the PMC Site might intersect the OU-2 Plume thousands of feet from
2      the PMC Site at some unknown time in the future. Plaintiffs must prove this
3      groundwater contains hazardous substances from the PMC Site and that those
4      substances have migrated to or are more likely than not to migrate to the OU-2
5      Plume in the future. All that the hypothetical groundwater flow lines Plaintiffs’
6      litigation expert relies upon show is that groundwater may migrate thousands of
7      feet in the general direction of OU-2. Decl. of Earl Hagström in Support of
8      Moving Defendant’s Reply in Support of MSJ (“Hagström Reply Decl.”), Ex. H.
9      Such speculation is insufficient to prove Plaintiffs’ CERCLA claims.
10               Moreover, groundwater flow direction based on the potentiometric contour
11     lines in the September 2018 groundwater flow map prepared by Geosyntec,
12     Plaintiffs’ technical experts responsible for Plaintiffs’ OU-2 investigation, show
13     groundwater flowing “out of OU-2” in an East South East direction, the opposite
14     direction from that opined by Mr. Mutch. Ex. Z, Leading Edge Figure.
15               The OU-2 Plume and PMC Site are distinct and physically separate sites and
16     governed under the Castaic Lake “two-site” standard adopted by the Court. See
17     Dckt 1028, Court’s Tent. Ruling on Common Issues of Law, p. 17-19; Castaic, 272
18     F.Supp.2d 1053 (2003).
19
20     II.       ARGUMENT
21               A.    PLAINTIFFS AGREE THEY MUST ESTABLISH A “RELEASE” OF
22                     HAZARDOUS SUBSTANCES HAS OR WILL REACH AND COMINGLE
23                     WITH OU-2 GROUNDWATER

24               All parties agree that “OU-2 Groundwater contamination is at the center of
25     this dispute.” Dkt. 903-201, Valenzuela Declaration ISO Plaintiffs’ MSJ, ¶ 5.
26     Plaintiffs have agreed that with regard to PMC they must show a release to “OU-2
27     groundwater” in this phase of the litigation:
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1                     THE COURT: So both sides are asking me to decide that
2                     issue, whether or not there has been a release, an actual
                      release or a threatened release. Both sides want me to
3                     decide that issue, right? MR. VALENZUELA: Into OU2
4                     groundwater, yes, sir, Your Honor. THE COURT: Into
                      OU2 groundwater? MR. VALENZUELA: Yes…
5                March 14, 2022 Hearing Transcript, p. 45:8-15.
6      Plaintiffs further agree that they must show migration or potential migration from
7      the PMC Site to OU-2 in order to defeat PMC’s motion. Id. at 50:18-51:16.
8                Plaintiffs cannot prove there was a release of hazardous substances from the
9      PMC Site that has migrated to and comingled with contamination in the OU-2
10     Plume or that there is a reasonable and likely threat this will occur in the future.
11     Plaintiffs must prove that hazardous substances released from the PMC Site have a
12     plausible pathway to OU-2. A showing that groundwater may eventually intersect
13     without consideration of a pathway for hazardous substances is insufficient.
14     Plaintiffs must prove the groundwater is also transporting hazardous substances
15     from the PMC Site to OU-2, otherwise it is just groundwater and Plaintiffs’
16     CERCLA claims fail.
17               B.    PLAINTIFFS HAVE NOT ESTABLISHED A “PLAUSIBLE PATHWAY” FOR
18                     HAZARDOUS SUBSTANCES TO MIGRATE TO THE OU-2 PLUME
19               Plaintiffs have not met their burden to establish the existence of a plausible
20     migration pathway for hazardous substances between the PMC Site and the OU-2
21     Plume. Plaintiffs rely exclusively on hypothetical modeling and interpretations of
22     groundwater flow direction and do not take into account the mechanics of
23     contaminant transport. Mr. Mutch admitted he did not undertake any “fate and
24     transport analysis,” and did nothing more than attempt to determine the general
25     direction of groundwater flow, which he himself admits, “is not akin to
26     contaminant transport.” Hagström Reply Decl., ¶ 3, Ex. G, Mutch Depo VII, pp.
27     825:3-6; 840:13-16. Mr. Mutch further admitted that he had not done a “careful
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1      analysis” to determine the sources of the contamination he baselessly attributes to
2      the PMC Site. Id. 860:19-25; 861:1-10; 861:15-18.
3                Mr. Mutch’s conclusory statements that contaminants from the PMC Site
4      have or will reach OU-2 groundwater are admittedly speculation. An expert
5      opinion that is demonstrably unreliable cannot form the basis for showing a
6      genuine issue of fact. See Triton Energy Corp. v. Square D. Co, 68 F.2d 1216,
7      1222 (9th Cir. 1995) (excluding expert’s opinion regarding an alleged defect of a
8      circuit breaker that he never examined). Applying the Castaic Lake standard
9      adopted by the Court, Plaintiffs must produce evidence that a plausible migration
10     pathway by which hazardous substances are transported to OU-2 exists, not
11     simply a pathway for groundwater flow. Castaic Lake, 272 F.Supp.2d at 10662. It
12     is not enough for Plaintiffs simply to argue groundwater from the area in the
13     vicinity of the PMC Site might intersect the OU-2 Plume, thousands of feet from
14     the PMC Site, at some unknown time in the future. Plaintiffs must establish a
15     plausible pathway for hazardous substances. Mr. Mutch admitted that he made no
16     effort to determine how far along groundwater flow direction lines contaminants
17     could travel based on different source concentrations. Hagstrom Reply Decl., Ex.
18     G, ¶ 3, Ex. G, Mutch Depo VII, pp. 839:7-16. Groundwater direction is not enough
19     to prove Plaintiffs’ CERCLA claims. Moreover, groundwater flow maps prepared
20     by Plaintiffs’ technical consultant Geosyntec in September 2018 show groundwater
21     flowing “out of OU-2” in an ESE direction. Supp. Vogl Decl., Ex. Z. By contrast,
22     here, PMC offered admissible, scientifically based evidence through its expert,
23     Richard Vogl, which showed that based on several lines of evidence, including the
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         In Castaic, the Court noted that plaintiffs’ expert’s opinion took into account the physical and
26     chemical properties of the contaminants at issue and the hydrogeology of the Site; and further
27     that defendants expert agreed that surface water had the potential to transport the specific
       hazardous substances “considerable distances in short periods of time.” Here Plaintiffs argument
28     that groundwater from the vicinity of the PMC Site may eventually intersect OU-2 does not take
       into account the characteristics of the hazardous substances in question. Id. at 1067-1068.
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1      characteristics and concentrations of the contaminants associated with the PMC
2      Site, the geologic features and subsurface characteristics present at or between the
3      PMC Site and the OU-2 Plume, and remedial measures taken at the Site, that there
4      is no plausible pathway for the migration of contaminants from the PMC Site to
5      reach the OU-2 Groundwater Plume in the past, present or future. Dckt 902-53,
6      Vogl Decl. ¶¶ 9-19; Supp. Vogl Decl. ¶¶ 9-12, 18-19, 22-23.
7                Mr. Mutch’s opinions, which do not take into account contaminant transport
8      principles, are not reliable to the extent he concludes, on groundwater direction
9      alone, that contaminants from the PMC Site have or will impact OU-2.
10               C.    NEW DATA RECONFIRMS THAT NO PLAUSIBLE SUBSURFACE
11                     PATHWAY EXISTS FOR HAZARDOUS SUBSTANCES FROM THE PMC
12                     SITE TO REACH AND COMMINGLE WITH THE OU-2 PLUME

13               Groundwater monitoring data demonstrate hazardous substances from the
14     PMC Site have not and will not reach the OU-2 Plume. Dckt 902-53, Vogl Decl.
15     ¶¶ 9-19; Supp. Vogl Decl., ¶¶ 9-12, 18-19, 22-23.
16               Data collected after briefing concluded in April 2021 reconfirms PMC’s
17     position, that the concentration levels combined with the chemical and physical
18     characteristics of the contaminants at PMC Site make clear the contamination has
19     not and will never reach the OU-2 Plume. Contaminant concentrations at
20     Monitoring Well 10R, which prior to April 2021, detected the highest
21     concentrations of benzene and naphthalene at the PMC Site, have decreased from
22     350 micrograms per liter (“ug/L”) in April 2019, to 65 ug/L in April 2021 to 4.1
23     ug/L in October 2021. Supp. Vogl Declaration, ¶ 10i, Exs. T-V. These decreases
24     are the result of the continued removal of benzene and other VOCs and SVOCs
25     during air sparging and vapor extraction activities in the vicinity of monitoring
26     well MW-10R combined with ongoing biodegradation and natural attenuation. Id.
27                Groundwater data from the PMC Site and the off-site monitoring wells
28     confirm that the benzene plume is rapidly degrading. Id.
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1                As a result of the limited and continually decreasing mass and the physical
2      and chemical characteristics of the hazardous substances at the PMC Site,
3      primarily benzene and naphthalene, the data shows hazardous substances have
4      migrated less than 700 feet from the PMC Site. At their closest point to OU-2,
5      hazardous substances used by PMC at the PMC Site attenuate to less than 0.5
6      ug/L3 more than 1,300 feet from the OU-2 Plume. This distance conservatively
7      assumes groundwater flows “as the crow flies” directly west towards the OU-2
8      Plume, which it undisputedly does not. Dckt 902-53, Vogl Decl. ¶ p. 16:1-17:2;
9      19:11-18; 21:26-22:10. Hagström Reply Decl., ¶ 4, Ex. H, Mutch Rebuttal Report
10     Figures, at Figs. 2-5-2-9. While Mr. Mutch argues that his interpretation of the
11     potentiometric contours indicating groundwater flow direction demonstrate that
12     groundwater from the PMC Site may ultimately intersect the OU-2 Plume, the
13     groundwater flow arrows drawn by Mr. Mutch, even if accurate, require that
14     hazardous substances from the PMC Site travel 2,000 to 9,0004 feet horizontally to
15     reach the outer edge of the OU-2 Plume, which they have not and will not do.
16     Hagström Reply Decl., ¶ 4, Ex. H, Mutch Rebuttal Report Figures, at Figs. 2-5-2-
17     9; Supp. Vogl Decl. ¶ 12i.
18               D.    ONGOING REMEDIATION WILL CONTINUE TO REMOVE
19                     CONTAMINATION FROM SOURCE AREAS AT THE PMC SITE
20               In addition to the ongoing remediation, PMC installed engineering controls
21     and capped the PMC Site in 1993 and has consistently cooperated with DTSC and
22     its predecessors in investigating and remediating the PMC Site. Dckt. 959, p.
23     18:22-22:19, Uncontroverted Facts 11-13. Groundwater monitoring data collected
24     following a pilot test performed in March 2019 near the Monitoring Well 10R the
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26
       3
27       The Maximum Contaminant Level in California is 1 ug/l. The detection limit is 0.5 ug/l.
       https://www.waterboards.ca.gov/gama/docs/coc_benzene.pdf.
28     4
         The approximate distances for the respective figures in feet are as follows: 2-5: 4,000-7,000; 2-
       6: 8,000-9,000; 2-7: 2,300-3,000; 2-8: 3,500-5,200; 2-9: 2,000-2,500.
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1      well with the highest concentrations of benzene at the site showed a significant and
2      continuous decline in benzene concentrations. As a result of the mass extracted
3      and ongoing natural attenuation, which has accelerated as a result of the
4      introduction of oxygen associated with the pilot test benzene concentrations have
5      dropped from 370 ug/l in March 2019, to 65 ug/l in April 2021, and to 4.1 ug/l in
6      October 2021. Supp. Vogl Declaration, ¶ 10i, Ex. T-V. Since the April 15, 2021
7      reply briefing was filed, DTSC has approved PMC’s Remedial Design and
8      Implementation Plan, which in addition to the previously implemented capping and
9      engineering controls, will further reduce the mass of contaminants at the PMC Site
10     reducing the potential for off-site migration in the future. Id. ¶ 12b.
11
12     III.      CONCLUSION
13               Even if arguendo Plaintiffs were able to prove, and it is their burden, the
14     general direction of groundwater flow from the vicinity of the PMC Site is towards
15     the southern boundary of the OU-2 Plume, below the Leading Edge Area, this
16     groundwater must contain hazardous substances from the PMC Site and migrate
17     2,000 to 9,000 feet to reach the southern boundary of the OU-2 Plume - otherwise
18     it is just groundwater and Plaintiffs CERCLA claims fail. Plaintiffs have not met
19     their burden of proof. PMC has met its burden under Castaic Lake and Fed. R.
20     Civ. P. 56(a), and respectfully requests that its Motion should be granted.
21
22      Date: May 2, 2022                    EDLIN GALLAGHER HUIE + BLUM
23
24                                                  /s/ Daniel E. Trowbridge
25                                           By:____________________________________
                                                 DANIEL E. TROWBRIDGE
26                                               Attorneys for Defendants
27                                               PMC SPECIALTIES GROUP, INC. AND
                                                 FERRO CORPORATION
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